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       Phoenix, Arizona 85004
   3   (602) 412-4422
       jcross@crosslawaz.com
   4   Counsel for Debtor, HH Acquisition CS, LLC
   5
                                IN THE UNITED STATES BANKRUPTCY COURT
   6
                                          FOR THE DISTRICT OF ARIZONA
   7
       In re:                                           Chapter 11 Proceedings
   8
       HH ACQUISITION CS, LLC,                          Case No. 2:21-bk-05211-DPC
   9
                            Debtor.                     DECLARATION OF PATRICK CLIFTON IN
  10                                                    SUPPORT OF DEBTOR’S FIRST DAY
                                                        MOTIONS
  11

  12

  13                 I, Patrick Clifton, authorized representative of HH Acquisition CS, LLC (“HH” or the

  14   “Debtor”) hereby declare under penalty of perjury as follows:

  15            1.          I am a resident of Maricopa County, Arizona, I am over eighteen years of age,
  16
       and am competent to make this Declaration.
  17
                2.          I have been involved in various forms of real estate development and
  18
       acquisitions since the 1980’s. I am currently involved in the development of several build-to-
  19
       rent projects. Previously I have been involved in overseeing the development/acquisition of
  20

  21   over 4,000 apartments throughout Arizona as well as the roll-out and operation of such multi-

  22   unit consumer brands such as Blockbuster Video, Boston Market, Spin Cycle, and AutoAuto
  23   Wash. Additionally, I have been an Advisor of Highland Hospitality Partners, LLC and its
  24
       predecessor since 2010.
  25
                3.          I make the following statements based upon my personal knowledge and the
  26
       business records of the Debtor.
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Case 2:21-bk-05211-DPC                Doc 12 Filed 07/07/21 Entered 07/07/21 17:35:01         Desc
                                      Main Document    Page 1 of 6
             4.         HH Acquisition is the debtor and debtor-in-possession in the above- captioned
   1

   2   Chapter 11 case.

   3         5.         HH Acquisition operates a hotel known as Hyatt House Colorado Springs

   4   located at 5805 Delmonico Drive, Colorado Springs, Colorado 80919 (the “Property”).
   5
             6.         HH Acquisition is owned by various equity investors and is managed by
   6
       Highland Hospitality Partners, LLC, a Delaware limited liability company. TGT Partners, LLC,
   7
       an Arizona limited liability company is the manager of Highland Hospitality. ISB Management,
   8
       LLC, an Arizona limited liability company is the manager of TGT Partners.
   9

  10                A. HH Acquisition’s Business

  11         7.         HH Acquisition was formed in the state of Delaware as a limited liability
  12   company in February 2019, to acquire the Property, with the intention of renovating it.
  13
             8.         The Property is operated by a third-party management company, Rockies Hotel
  14
       Management, Inc.
  15
             9.         Rockies Hotel Management, Inc. is responsible for the day-to-day operation of
  16

  17   the Property and provides periodic reports to management of the Debtor regarding operations of

  18   the hotel.

  19                B. Factors Leading to Bankruptcy
  20         10.        On or about October 4, 2019, HH Acquisition entered into a Promissory Note
  21
       with YAM Capital III, LLC (“YAM”) in the amount of $8,400,000.00, with a 9% interest rate
  22
       per annum (the “YAM Note”).       The purpose of the loan was to provide bridge financing until a
  23
       permanent loan could be obtained to fund the planned renovations.
  24

  25         11.        On or about October 4, 2019, HH Acquisition entered into a Promissory Note

  26   with HH CO Springs, LLC (“HHCOS”) in the amount of $1,150,000.00, with an 8% interest

  27   rate per annum (the “HHCOS Note”). The purpose of this loan was seller provided financing
  28

Case 2:21-bk-05211-DPC                              2 Entered 07/07/21 17:35:01
                                Doc 12 Filed 07/07/21                                       Desc
                                Main Document    Page 2 of 6
       when Debtor acquired the Property.          The current amount owed on this obligation is
   1

   2   approximately $450,000.

   3        12.       HH Acquisition was able to operate the Property and made the payments on the

   4   YAM and HHCOS Notes until March 2020, when the COVID-19 pandemic caused the Property
   5
       to shut down and led to the serious adverse economic impact on hospitality properties across the
   6
       nation and world.     As a result of the pandemic, HH Acquisition’s business took a drastic
   7
       downturn, and the Debtor was unable to continue making the payments on the Notes.
   8
            13.       In April 2020, HH Acquisition applied for and received a Paycheck Protection
   9

  10   Program Loan from the Small Business Administration in the amount of $140,835 (the “First

  11   PPP Loan”) in order to continue operating its business. The Debtor has applied for forgiveness
  12   of this First PPP Loan and expects it to be fully forgiven.
  13
            14.       On April 6, 2020, the Debtor and YAM entered into a Forbearance Agreement,
  14
       which deferred payments on the Note through June 30, 2020.
  15
            15.       On June 2, 2020, the Debtor and YAM entered into a First Amendment to
  16

  17   Forbearance Agreement, which further deferred payments on the Note through July 31, 2020.

  18        16.       On July 2, 2020, the Debtor and HHCOS entered into a Letter Agreement, which

  19   extended the loan maturity date to August 19, 2020.
  20        17.       On July 30, 2020, the Debtor and YAM entered that certain Second Amendment
  21
       to Agreement which extended the loan maturity to September 30, 2020.
  22
            18.       On September 30, 2020, the Debtor and YAM entered that certain Third
  23
       Amendment to Agreement which extended the loan maturity to January 1, 2020, and also
  24

  25   increased the interest rate to accrue on the Note from 9% to 10% per annum.

  26        19.       On November 27, 2020, the Debtor sent a notice to YAM that it desired to

  27   further extend the maturity of the Loan for an additional 90 day period.
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Case 2:21-bk-05211-DPC                             3 Entered 07/07/21 17:35:01
                               Doc 12 Filed 07/07/21                                       Desc
                               Main Document    Page 3 of 6
            20.        YAM did not respond to the November 27, 2020, request for extension, and sent
   1

   2   a letter on January 8, 2021, declaring a default on the Loan.

   3        21.        In February 2021, HH Acquisition applied for and received a second Paycheck

   4   Protection Loan from the Small Business Administration in the amount of $230,800 (the
   5
       “Second PPP Loan”) in order to continue operating its business. The Debtor has applied for
   6
       forgiveness of this Second PPP Loan and expects it to be fully forgiven.
   7
            22.        The Debtor has been negotiating a sale of the Property to a third party, which
   8
       sale was originally scheduled to close in mid to late August, and which would pay both YAM
   9

  10   and HHCOS in full, as well as provide funds to pay unsecured debt related to the Property.

  11        23.        On June 8, 2021, YAM issued its Notice Regarding Cure Statement on the YAM
  12   Note, with a trustee’s sale set for July 7, 2021. The Debtor was given a deadline of July 6,
  13
       2021, at Noon to pay all outstanding amounts due on the YAM Note in the amount of
  14
       $10,343,617,10.
  15
            24.        Due to the COVID-19 pandemic, the Debtor was forced to close its business at
  16

  17   times, reopen with limited services and space, and continues to operate with limited guests.

  18        25.        Through this reorganization, the Debtor will sell the Property, pay all secured

  19   creditors in full, and provide funds to repay unsecured debt.
  20        26.        The Debtor has been in the process of attempting to close a sale to an
  21
       independent third party for a sale price of $14,500,000. Now that this bankruptcy has been
  22
       filed, the Debtor intends to immediately proceed forward in filing a motion for approval of a
  23
       sale of the property, after appropriate notice and an opportunity for better and higher offers.
  24

  25              C. Need for Cash Collateral Use

  26        27.        As of the Petition Date, the total payoff balance the YAM Note is

  27   $10,343,617.10.
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Case 2:21-bk-05211-DPC                             4 Entered 07/07/21 17:35:01
                               Doc 12 Filed 07/07/21                                           Desc
                               Main Document    Page 4 of 6
            28.        As of the Petition Date, HH Acquisition owes unsecured debt but is attempting to
   1

   2   obtain the specific amounts from its management company.

   3        29.        Without the ability to immediately use cash to fund its ongoing operations, HH

   4   Acquisition cannot operate, and will not have access to cash to pay operating expenses. In that
   5
       event, Debtors’ operations will shut down, all ongoing business value will be lost, and creditors
   6
       will lose any prospect for repayment.
   7
            30.        The Debtor has developed a three-month budget for operations, which is
   8
       submitted as Exhibit B to its motion for authority to use Cash Collateral.
   9

  10              D. Obligation Owing to Hyatt House Franchising, LLC

  11        31.        The Debtor is a party to a franchise agreement with Hyatt House Franchising,
  12   LLC for the use of the Hyatt brand in operating the Property. Once the sale of the Property is
  13
       closed, Debtor shall reject this executory contract.
  14
                  E. Utilities
  15
            32.        The Debtor had hoped to have information to seek relief in terms of utility
  16

  17   deposits, but at this point does not have all the information necessary for this request and shall

  18   supplement this Declaration once the information is obtained.

  19        33.        I have reviewed the “first day motions” filed on this day, and the factual
  20   statements contained therein are accurate to the best of my knowledge.
  21
              DATED: July 7, 2021.
  22
                                                     HH ACQUISITION CS, LLC
  23

  24                                                 /s/ Patrick Clifton                         ___
                                                     By: Patrick Clifton, Authorized Representative
  25
       COPY of the foregoing filed via the
  26   Court’s ECF system and copies mailed/emailed
       on July 7, 2021, to:
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Case 2:21-bk-05211-DPC                               5 Entered 07/07/21 17:35:01
                                 Doc 12 Filed 07/07/21                                       Desc
                                 Main Document    Page 5 of 6
       Jennifer Giaimo                            Isaac Gabriel, Esq.
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   2   230 N. First Avenue, Suite 204             Phoenix, AZ 85004
       Phoenix, AZ 85003-1706                     Email: Isaac.Gabriel@quarles.com
   3   Email: jennifer.a.giaimo@usdoj.gov         Counsel for YAM Capital III, LLC
   4   U.S. Small Business Administration         Colorado Department of Revenue
       2828 N. Central Ave., Ste. 800             PO Box 17087
   5   Phoenix, AZ 85004                          Denver, CO 80217
   6   Internal Revenue Service                   Arizona Department of Revenue
       Centralized Insolvency Operation           P.O. Box 29086
   7   P.O. Box 7346                              Phoenix, AZ 85038-9086
       Philadelphia, PA 19101-7346
   8
       El Paso Cunty Public Trustee               El Paso County Treasurer
   9   Attn: Cindy Simpson                        PO Box 2018
       1676 Garden of the Gods Rd., Ste. 2100     Colorado Springs, CO 80901
  10   Colorado Springs, CO 80907
  11   HH CO Springs, LLC                         Hyatt House Franchising, LLC
       2000 High Wickham Place, Ste. 300          Attn: General Counsel
  12   Louisville, KY 40245                       150 N. Riverside Plaza
                                                  Chicago, IL 60606
  13
       Colorado Springs Utilities                 Waste Management of Colorado, Inc.
  14   PO Box 340                                 AS Payment Agent
       Colorado Springs, CO 80901                 PO Box 7400
  15                                              Pasadena, CA 91109
  16
       /s/ Kara L. Stewart
  17

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Case 2:21-bk-05211-DPC                           6 Entered 07/07/21 17:35:01
                             Doc 12 Filed 07/07/21                                   Desc
                             Main Document    Page 6 of 6
